Case No. 1:08-cv-01748-ZLW-BNB Document 1-1 filed 08/15/08 USDC Colorado pgiofi

IS 44 (Rey, 1207)

by local rules of court. This form, approved by the Judicial Conference of the United 3

CIVIL COVER SHEET

‘The JS 44 civil cover sheet and the information contained hercin neither replace nor supplement the filing and service of pleadings or other papers as re

the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.}

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quired by law,

except as provided

tates in Seplember 1974, is required for the use of the Clerk of Court for the purpose of initiating

L (a) PLAINTIFFS

Steuwer, Sandra J.
Steuwer, Sean

(b) County of Residence of First Listed Plaintiff

El Paso

DEFENDANTS

(EXCEPT IN U8. PLAINTIFF CASES)

(c} Attorney's (Finn Name, Address, and Telephone Nionher)

Heuser and Heuser, LLP, 625 N. Cascade Ave., #300,Colorado
Springs, CO 80903 719 520-9909, Gordon J. Heuser, 14744

NOTE:

Attomeys (If Known)

Jencson, Barry M.
The United States of America
County of Residence of First Listed Defendant
GN U.S, PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.

El Paso

I. BASIS OF JURISDICTION

O U.S. Goversnent
PlaimilT
BW. US. Goverment

Defendant

(Place an “X"

3) Feder! Question
{LLS. Government

O 4 Diversity

{Indicate Citizens)

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(For Diversity Cases Ouly}

PTF
Citizen of This State ao
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HL. CITIZENSHIP OF PRINCIPAL PARTIES Pace an “Xx? in One Box for Plain?

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DEF PrF DEF
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of Business In This State
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LY. NATURE OF SUIT. (Pace

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EE CONTRACT i: JES TORTS 2S TORFELTURE/PENALTY 2:0) BANKRUPTCY: OTHER STATUTES:
17 $10 Insurance PERSONAL INJURY PERSONAL INJURY (7 G00 Agriculture 17 422 Appeal 28 USC 158 O 400 State Reapportionment
1 #20 Marine 310 Airplane O 362 Personal Injury - C) 620 Other Food & Drug O 423 Withdrawal O 410 Antitrust
0 430 Miller Act OQ o315 Airplane Product Med. Malpractice 0 625 Drug Related Seizure 28 USC 157 QO 430 Sanks and Banking
OF 144) Negotiable instrument Linhility O 365 Personal [ajury - of Property 21 USC 881 GO 450 Commerce
7 150 Recovery of Overpayment [[7 320 Assault, Libel & Product Liability 0) 630 Liquor Laws CPROPERTYV-RIGHTS 2510) 460 Deportation
& Enforcement ofJudgiment Slander O) 368 Asbestus Personal 0 640 RR. & Truck 0 820 Copyrights 470 Racketeer Influenced and
{4 151 Medicare Act (330 Federal Employers’ Injury Product 0 650 Airline Regs. 7 430 Patent Corrupt Orgnnizations
9 152 Recovery of Definlted Liahility Liahility 7 660 Occupational 40 Vrademark C) 480 Consuner Credit
Stxlent Loans 3-40 Marine PERSONAL PROPERTY Safety/lHealth 490 Cable/Sat TY
(Exel. Veterans} 345 Marine Product O 370 Other Fraud O 690 Other {) 810 Selective Service
CT 153 Reeavery of Overpayinent Liahility M371 Toh in Lending abe ee AOR E! bee SOCIAL SECURITY: 2] 850 Securities/Conunodities/
of Veternia's Benefits IR 350 Motor Vehicle fl 38D Other Personal CF 710 Fair Labor Standards O7 861 IEA (1394175 Exchange
EF 160 Steckholders’ Suits O 355 Motor Vehicle Property Damage Act f1 862 Black Lung (9234 O 875 Customer Challenge
EF 190 Other Ceturact Prodnet Liability (7) 385 Property Damave CF 720 Labor/Mamt. Relations = 7 863 DEVCANWW (405(2)) 12 USC 3414
CF 195 Contract Product Liability [2] 360 Gther Personal Product Liability 1 730 LaborMymt.Reporting £7 854 551D Title XVI OF §99 Other Statutory Actions
F196 Franchise (njury & Disclosure Act OF 865 RSI (dla(e)) 891 Agricuitural Acts
peucc: READ PROPERT Yee fe CIVIE RIGHTS 280 b PRISONER-PETITIONS = (0 740 Railway Labor Act Se FEDERAL: TAX SULES O 892 Economic Stabilization Act
&F 220 Land Condemnation Oo 446 Voting O 310 Motions ta Vacate = [J 790 Other Labor Litigation O 870 Taxes (U.S. Plaintill O 899 Environmental Matters
£F 220 Foreclosure OM 442 Eaaployiient Sentence OF 791 Expl. Ret. Ine. or Defendint) OF 894 Energy Allocation Act
CF 230 Rent Lease & Bjectnent | 443 dTousing/ Hiybeus Corpus: Security Act OT 871 IRS-Third Party G 895 Freedom ef Infunnation
C7 240 Torts to Land Accesmnoditions | 530 General 26 USC 7609 Act
T7245 Tort Product Liability C1 d4d Welfare J 535 Death Penalty EEE” IMMTGRA THONG 2503) G 900Appeal of Fee Detennination
1) 290 All Other Real Property 907) 145 Amer. w/Disabilities- [540 Mandamus & Other {€) 462 Naturalization Applicatian Under Equal Access
Employment CF 350 Civil Rights G 463 Habeas Corpus - to Jnstice
O 446 Amer. w/Disabilities - [TF 555 Prison Condition Alien Detainee O 950 Constitutionatity of
Other 6 465 Other linimtigcation State Statutes
O 40 Other Civil Rights Actions
¥. ORIGIN (Place an “X” in Gae Box Oniy} . Appeal to District
1 Original 1 2 Removed from O 3) Remanded from ic] 4 Reinstatedor 4 ! runsterred from (7G Multidistrict 1 7 tu ge from
Proceeding Suue Court Appellate Court Reopened Caneel) Isirec Litigation judgment.
Cie. AGS, Civil Statute undgp which yay re filing (Do not cite jurisdictional statutes unless diversity):

VI. CAUSE OF ACTION

Brief description of cause: / be
Negligence ot Employee ot Department of Detense causing injuries.

VI. REQUESTED IN

COMPLAINT:

C7 CHECK iF THIS 1S A CLASS ACTION
UNDER FALC P23

DEMAND §

CHECK YES only if demanded in complaint:

#1,DO1,9412%.93  surv pemanp:

O Yes ONo

VIL RELATED CASE(S)

IF ANY

(See instructions):

JUDGE

DOCKET NUMBER

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SIGNATURE OF ATTORNEY OF RECORD

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

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JUDGE

MAG. JUDGE

